                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                         )   CASE NO.: 1:19CR283
                                                   )
                Plaintiff,                         )   JUDGE PATRICIA A. GAUGHAN
                                                   )
        v.                                         )
                                                   )
 TORIANO A. LEAKS, JR.,                            )   UNITED STATES' TRIAL BRIEF
                                                   )
                Defendant.                         )


       The United States of America, by and through its counsel, Justine E. Herdman, United

States Attorney, and Scott C. Zarzycki, Assistant United States Attorney, respectfully submits

the following trial brief in accordance with this Court’s Trial Order.

I.     CONTROLLING LAW

       The Indictment charges Defendant Toriano A. Leaks, Jr., with two counts of possession

of a machinegun. The relevant statute for both of these offenses is Title 18, United States Code,

Section 922(o), which provides:

               …[I]t shall be unlawful for any person to transfer or possess a
               machinegun.

       A machinegun is defined in Title 26, United States Code, Section 5845(b) as:
                [A]ny weapon which shoots, is designed to shoot, or can be readily
                restored to shoot, automatically more than one shot, without
                manual reloading, by a single function of the trigger.

                The term shall also include the frame or receiver of any such
                weapon, any part designed and intended solely and exclusively, or
                combination of parts designed and intended, for use in converting a
                weapon into a machinegun, and any combination of parts from
                which a machinegun can be assembled if such parts are in the
                possession or under the control of a person.

        To sustain its burden of proof for count 1, the United States must prove all of the

following elements beyond a reasonable doubt:

                First: That the defendant possessed a machinegun; and

                Second: That the defendant, knew it was a machinegun or was
                aware of the firearm’s essential characteristics that make it a
                machinegun. 1

Pattern Crim. Jury Instr. 11th Cir. OI O34.8 (2016); Sixth Circuit Pattern Criminal Jury
Instructions, 2019 Edition, Sections 2.09 and 2.11.

        To sustain its burden of proof for count 2, the United States must prove all of the

following elements beyond a reasonable doubt:

                First: That the defendant possessed a machinegun, more
                particularly described as a select fire auto-sear, which is a part, or
                combination of parts, designed and intended solely and exclusively
                for use in converting a weapon into a machinegun; and

                Second: That the defendant, knew it was a machinegun or was
                aware of the firearm’s essential characteristics that make it a
                machinegun.

Pattern Crim. Jury Instr. 11th Cir. OI O34.8 (2016) (modified by agreement of the parties); Sixth
Circuit Pattern Criminal Jury Instructions, 2019 Edition, Sections 2.09 and 2.11.




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  18 USC 922(o) does not contain a jurisdictional requirement that the machinegun be “in and affecting
interstate commerce.” United States v. Fisher, 149 Fed.Appx 379, 384 (6th Cir. 2005).


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II.    STATEMENT OF FACTS

       If this case proceeds to trial, the United States intends to offer evidence of the following:

       On April 10, 2019 at approximately 10:19 pm. Bedford Police Officer Stanton initiated a

traffic stop on a vehicle for displaying two different registrations on the front and back of the

vehicle.

       The officer made contact with the driver who claimed he had a temporary learner’s

permit from West Virginia and provided a false first name and date of birth. The officer was

however, able to determine his true identity as Toriano A. Leaks, Jr. through BMV photos. The

defendant was ultimately arrested for providing false information to a police officer and a small

quantity of marijuana was located on his person.

       Officer Stanton searched the vehicle, which belonged to a back seat passenger. They

recovered a loaded Glock 22 handgun under the driver’s seat with 21 rounds of ammunition in 3

magazines. The magazines had capacities of 15, 20, and 30 rounds. The firearm had a Glock

pistol select fire switch to make the weapon fully automatic. Bedford police test fired the

weapon and it functioned as a machinegun. Two separate passengers of the vehicle, wrote

witness statements stating the gun belonged to the defendant.

III.   EVIDENTIARY ISSUES

       The United States does not anticipate any evidentiary issues at this time other than that

raised previously by defense in its Motion in Limine and addressed by the parties in their

motions.

IV.    TRIAL DOCUMENTS

       A.      STIPULATIONS

       The United States and the Defendant have not entered into any stipulations.




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       B.      PROPOSED JURY INSTRUCTIONS

       The United States respectfully requests that the Court submit to the jury its proposed

instructions filed under Doc. #18.

       C.      PROPOSED VOIR DIRE QUESTIONS

       The United States respectfully requests that the Court direct the proposed questions filed

under Doc. #19 to the jury panel during voir dire examination.

       D.      EXHIBIT AND WITNESS LISTS

       The Government’s Exhibits will be marked before trial with exhibit stickers. The United

States will also exchange its proposed Exhibit List with counsel and place all exhibits sets in

three-ring binders prior to trial in accordance with the Court’s Order.

V.     COURTROOM PROCEDURE

       A.      JENCKS MATERIAL

       The United States will provide Jencks material to the defense in a timely manner and in

accordance with this Court’s Order.

       B.      SEQUESTRATION OF WITNESSES & PRESENCE OF GOVERNMENT
               AGENT AT TRIAL

       The United States respectfully requests that the Court issue a witness-sequestration order

pursuant to Federal Rule of Evidence 615. The government designates Special Agent Lucas

Battani from the ATF as its representative in this case to be present at counsel table throughout

the trial. Agent Battani’s presence in the courtroom during trial is essential to the presentation of

the government’s case. See FED. R. EVID. 615(b) (specifically excluding from a sequestration

order “an officer or employee of a party that is not a natural person, after being designated as the

party’s representative by its attorney”); FED. R. EVID. 615(c) (providing an additional exception

for essential witnesses).



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VI.    ESTIMATED LENGTH OF TRIAL

       The United States anticipates completing its case-in-chief in approximately two days.

VII.   CONCLUSION

       The United States is prepared to submit additional briefing on any issue should the Court

or circumstances require.



                                                    Respectfully submitted,

                                                    JUSTIN E. HERDMAN
                                                    United States Attorney

                                             By:    /s/ Scott C Zarzycki
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this August 29, 20019, a copy of the foregoing document was

filed electronically. Notice of this filing will be sent to all parties by operation of the Court's

electronic filing system. All other parties will be served by regular U.S. Mail. Parties may

access this filing through the Court's system.


                                                        /s/ Scott C. Zarzycki
                                                        Scott C. Zarzycki
                                                        Assistant U.S. Attorney




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